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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA

 IN RE:                                 ) Case No. 14-41222-PWB
                                        )
           Regina S Barnes,             ) Chapter 13
                                        )
                                        )
                                Debtor. )

                        ORDER FOR PAYMENT OF UNCLAIMED FUNDS

     Trustee filed a Trustee's "Notice and Payment into the Court for Unclaimed Funds" on

9/5/2019 and issued a check to the Clerk, U.S. Bankruptcy Court, for deposit into the registry of the

court in the amount of $10,467.95 on behalf of Fred Talleys Parkview Chapel. On October 4, 2019,

Carriage Funeral Holdings, Inc., do Dilks & Knopik, LLC, filed a petition seeking payment of this

sum. The petition and the documents attached thereto establish that claimant is entitled to the

unclaimed funds; accordingly, it is hereby

     ORDERED that the Clerk, US Bankruptcy Court, shall issue a check in the amount of

$10,467.95, payable to Carriage Funeral Holdings, Inc., c/o Dilks & Knopik, LLC and shall send

said check to payee at the following address: 35308 SE Center Street, Snoqualmie, WA 98065-9216.

     IT IS SO ORDERED, this     A°     _   day of                     2019.



                                             PAUL    B APFEL
                                             UNITED S ATES BANKRUPTCY JUDGE
No Opposition:


                 son, Chapter 13 Trustee




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Application Submitted By:



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Dilks Knopik, LLC
Attorney-in-Fact for Carriage Funeral Holdings, Inc.
35308 SE Center Street
Snoqualmie, WA 98065-9216
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Dilks & Knopik, LLC, 35308 SE Center Street, Snoqualmie, WA 98065-9216




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